Case: 1:18-cv-03985 Document #: 3-1 Filed: 06/07/18 Page 1 of 8 PageID #:8




                            EXHIBIT “A”
Case: 1:18-cv-03985 Document #: 3-1 Filed: 06/07/18 Page 2 of 8 PageID #:9
Case: 1:18-cv-03985 Document #: 3-1 Filed: 06/07/18 Page 3 of 8 PageID #:10
Case: 1:18-cv-03985 Document #: 3-1 Filed: 06/07/18 Page 4 of 8 PageID #:11
Case: 1:18-cv-03985 Document #: 3-1 Filed: 06/07/18 Page 5 of 8 PageID #:12
Case: 1:18-cv-03985 Document #: 3-1 Filed: 06/07/18 Page 6 of 8 PageID #:13
Case: 1:18-cv-03985 Document #: 3-1 Filed: 06/07/18 Page 7 of 8 PageID #:14
Case: 1:18-cv-03985 Document #: 3-1 Filed: 06/07/18 Page 8 of 8 PageID #:15
